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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


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                                   :                  Chapter 11
In re:                             :
                                   :                  Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.,          :
                                   :                  Jointly Administered
                          Debtors. :
                                   :
---------------------------------x

                     ORDER SCHEDULING OMNIBUS HEARING DATE

                Upon consideration of the Certification of Counsel in Support of Omnibus

Hearing Dates Scheduling Order dated November 18, 2015, it is hereby

                ORDERED, ADJUDGED AND DECREED THAT:

                1.      The following date and time has been scheduled as omnibus hearing (the

“Omnibus Hearing”) in these chapter 11 proceedings:

                        December 17, 2015 at 9:00 a.m. (Eastern)

                2.      Omnibus Hearings will occur thereafter as may be scheduled by the

United States Bankruptcy Court for the District of Delaware (the “Court”).

                3.      All matters in these cases shall be set for and heard on the dates scheduled

for Omnibus Hearings unless alternative hearing dates are approved by the Court for good cause

shown.




         Dated: December 1st, 2015                  BRENDAN L. SHANNON
         Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE
